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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

       Plaintiff,

v.

GUILLERMO ORDUNO,

       Defendant.                                         Case No. 06-cr-30166-11-DRH


                                            ORDER


HERNDON, District Judge:

               Before the Court is defendant Guillermo Orduno’s Motion to Set Aside

Judgment (Doc. 517) and Motion for Acquittal (Doc. 518).1 Defendant filed these

Motions pro se even though he is currently represented by counsel. While it is at the

Court’s discretion, a pro se motion filed while the movant is represented by counsel,

may be stricken as improper. See, e.g., United States v. Gwiazdzinski, 141 F.3d

784, 787 (7th Cir. 1998). The record does not show that Defendant’s attorney ever

moved to withdraw his representation. Under the Local Rules, an attorney may not

withdraw an entry of appearance for a party without leave of court. S.D. ILL. L. R.

83.1(f). The Court finds it proper in this instance to strike these Motions, as they



       1
          The Court notes that these Motions appear to be “placeholders” of some sort, as they do
not contain any substantive arguments, but rather, each states the following: “Amend Later” (Docs.
517 & 518).

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was filed pro se by Defendant while he was still apparently represented by counsel.

             As an aside, even if the Court were not to strike the Motions as

improperly filed, it would find that they must be denied for being untimely filed in

accordance with FEDERAL RULES OF CRIMINAL PROCEDURE 29 and 33. Rule 29

governs motions for a judgment of acquittal and Rule 33 governs motions for new

trial (the Court construes Defendant’s Motion to Set Aside Judgment as a Motion for

New Trial). Rule 29 requires that a defendant (or his counsel) “move for a judgment

of acquittal, or renew such a motion, within 7 days after a guilty verdict . . . .” FED.

R. CRIM. P. 29. Similarly, unless a motion for new trial is “grounded on newly

discovered evidence,” Rule 33 requires such motion be filed “within 7 days after the

verdict or finding of guilty.” FED. R. CRIM. P. 33. Defendant fails to give any legal

grounds to support either Motion, let alone presents new evidence warranting a new

trial. The jury returned its verdict finding Defendant guilty in this case on August 13,

2008 (Doc. 489). Defendant’s pro se Motions are dated August 21, 2008. Albeit this

is only one day over the seven-day filing deadline, it still exceeds the deadline. See,

e.g., United States v. Brown, 742 F.2d 363, (7th Cir. 1984) (“[A] district court

may not entertain a motion for new trial filed beyond the 7-day limit in Rule 33

. . . .”) (citations omitted). Coupled with the fact that Defendant was represented

by counsel when he filed these Motions gives the Court ample reason to strike them.




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             In conclusion, Defendant’s Motion to Set Aside Judgment (Doc. 517)

and Motion for Acquittal (Doc. 518) are hereby STRICKEN from the record as being

improperly filed, pro se, while Defendant was represented by counsel.

             As an additional matter, Defendant also sent his Notice of Appeal to the

Clerk of the Court for e-filing. Thus, the Clerk of the Court is hereby directed to file

Defendant’s Notice of Appeal once Judgment is entered in this case, following

Defendant’s sentencing hearing,

             IT IS SO ORDERED.

             Signed this 9th day of September, 2008.



                                               /s/     DavidRHer|do|
                                               Chief Judge
                                               United States District Court




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